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          From:                  Cook, Sabrina
          Sent:                  Wed, 26 Jun 2013 10:45:26 -0400
          To:                    Anthony, Adrienne;Garofalo, Angela;Rumcik, Bill;Carlson, Gregory;Evans,
          Darren;Bencivengo, Fred;Millward, Joseph;Niskach, Matthew;Patel, Tracy;Roahrig, Todd
          Subject:               Giant Eagle CSMP - 06/26/2013
          Attachments:           CSMP Giant Eagle Threshold Report 062613.xlsx



          Team:

          Please see below CSMP report. Thanks.




          Sabrina Cook
          Account Manager/RNA Support Solutions


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          1220 Senlac Drive
          Carrollton, Texas 75006

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          972.446-5493 Fax
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CONFIDENTIAL                                                                                                   HBC_MDL00136237
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          Location: Greg.Carlson@gianteagle.com (MainArchive)\Recoverable ltems\Purges\Giant Eagle CSMP - 06_26_2013
          Title: CSMP Giant Eagle Threshold Report 062613
          Doc Type: Microsoft Excel XML Workbook
          Date: 26 Jun 2013 10:45:26
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                                                                                                                                P-HBC-1154.001


DC     Chain License     Account Name                    Base Code   Description   Monthly Threshold    MTD Accumulator    Threshold%
8772     431 BG6825965    941604 GIANT EAGLE #4098            9143 OXYCODONE                     8800               8800           100
8772     431 BG5859078    125571 GIANT EAGLE #0231            9143 OXYCODONE                     8000               7900         98.75
8772     431 BG6555417    201298 GIANT EAGLE #0216            9143 OXYCODONE                    11000              10800         98.18
8772     431 BG5859054    213862 GIANT EAGLE #0220            9143 OXYCODONE                     9700               9400         96.91
8164     431 BG8616293    394287 GIANT EAGLE #6512            9143 OXYCODONE                     8000               7500         93.75
8772     431 BG6662678    866709 GIANT EAGLE #4008            9143 OXYCODONE                     9800               9000         91.84
8772     431 BG6670524    904095 GIANT EAGLE #6381            9143 OXYCODONE                     8000               7100         88.75
8772     431 BG1914680    790287 GIANT EAGLE #0016            9143 OXYCODONE                    20800              18200          87.5
8772     431 FG0072683    625807 GIANT EAGLE #0199            9143 OXYCODONE                     8000               6800            85
8772     431 BG2374572    784850 GIANT EAGLE #0070            1100 AMPHETAMINE                   5000               4200            84
8772     431 BG0519718    796250 GIANT EAGLE #4051            9143 OXYCODONE                     8000               6700         83.75
8772     431 BG1622415    784975 GIANT EAGLE #0483            9143 OXYCODONE                    15000              12500         83.33
8772     431 BG8262343     97427 GIANT EAGLE #1217            9143 OXYCODONE                    22300              18500         82.96
8772     431 BG2600915    789750 GIANT EAGLE #2409            9143 OXYCODONE                    19000              15700         82.63
8772     431 BG1335985    785055 GIANT EAGLE #0495            9143 OXYCODONE                     9900               8100         81.82
8772     431 AG1237898    784686 GIANT EAGLE #0025            9143 OXYCODONE                    14600              11700         80.14
8164     431 FG0896362    141756 GIANT EAGLE #6517            9143 OXYCODONE                     9000               7200            80
8772     431 AG1053456    784835 GIANT EAGLE #0067             1100 AMPHETAMINE                  5000               3990          79.8
8772     431 AG2599340    784868 GIANT EAGLE #0072            9143 OXYCODONE                    23000              18300         79.57
8772     431 BG0812998    784934 GIANT EAGLE #2408            9143 OXYCODONE                    17000              13500         79.41
8772     431 BG7543209     49673 GIANT EAGLE #4030            9143 OXYCODONE                    15000              11900         79.33
8772     431 BG1922625    784918 GIANT EAGLE #0009            9143 OXYCODONE                    13000              10300         79.23
8772     431 AS8084268    797019 GIANT EAGLE #4095            9143 OXYCODONE                    21000              16600         79.05
8772     431 BG4839138    749335 GIANT EAGLE #0054            9143 OXYCODONE                     8000               6302         78.78
8772     431 BG1695951    784959 GIANT EAGLE #0019            9143 OXYCODONE                    18700              14700         78.61
8772     431 AG9111143    784892 GIANT EAGLE #0078            9143 OXYCODONE                    20000              15718         78.59
8772     431 BG0531079    784637 GIANT EAGLE #0008            1100 AMPHETAMINE                   5500               4300         78.18
8772     431 AG1484170    784660 GIANT EAGLE #0014            1100 AMPHETAMINE                   6000               4690         78.17
8772     431 AG9600645    784710 GIANT EAGLE #0031            9143 OXYCODONE                    11900               9300         78.15
8120     431 BG7616634    247440 GIANT EAGLE #1841            9143 OXYCODONE                    13000              10000         76.92
8120     431 BG7616634    503044 GE SMO DC 813 - #1841        9143 OXYCODONE                    13000              10000         76.92
8164     431 FG2252980    370116 GIANT EAGLE #6515             1100 AMPHETAMINE                  6000               4580         76.33
8772     431 BG4346537    785261 GIANT EAGLE #0032            9143 OXYCODONE                     8000               6100         76.25
8772     431 BG7594523    169324 GIANT EAGLE #4032            9143 OXYCODONE                     8000               6100         76.25




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8772   431 BG2826076    789255 GIANT EAGLE #2404        9143 OXYCODONE                   12000             9100       75.83
8772   431 FG0138873    996663 GIANT EAGLE #5878        9143 OXYCODONE                   12400             9200       74.19
8772   431 BG2576796    790139 GIANT EAGLE #2415        9143 OXYCODONE                   16000            11800       73.75
8772   431 BG6220898     36065 GIANT EAGLE #6301        9143 OXYCODONE                    8000             5900       73.75
8772   431 BG1458288    785063 GIANT EAGLE #0079        9143 OXYCODONE                   10000            7300          73
8772   431 BG1664499    791574 GIANT EAGLE #0046        9144 OXYCODONE 30MG (S           4000              2900        72.5
8772   431 BG2626387    785253 GIANT EAGLE #2402        9143 OXYCODONE                   8000              5800        72.5
8772   431 FG2264062    471339 GIANT EAGLE #0088        9143 OXYCODONE                   8000             5800         72.5
8772   431 BG4445121    790337 GIANT EAGLE #2480/0075   9143 OXYCODONE                   10000            7200          72
8772   431 FG1249312    927519 GIANT EAGLE #0043         1100 AMPHETAMINE                 5000            3600          72
8772   431 BG6194283    130612 GIANT EAGLE #1620        9143 OXYCODONE                   21950            15700       71.53
8772   431 BG0714964    785212 GIANT EAGLE #4002        9143 OXYCODONE                   12100            8620        71.24
8772   431 AG2599340    784868 GIANT EAGLE #0072        1100 AMPHETAMINE                  6600            4680        70.91
8772   431 BG4328793    784587 GIANT EAGLE #0002        9143 OXYCODONE                   14400            10200       70.83
8772   431 BG6514803    282084 GIANT EAGLE #4097        9143 OXYCODONE                   9700             6800         70.1
8772   431 BG1664499    791574 GIANT EAGLE #0046        9143 OXYCODONE                  28000             19605       70.02
8772   431 BG2374609    745971 GIANT EAGLE #0041         1100 AMPHETAMINE                 5000             3500         70
8772   431 BG2828880    790113 GIANT EAGLE #2414        9143 OXYCODONE                    9000             6300         70
8772   431 BG2629004    785170 GIANT EAGLE #1475        9143 OXYCODONE                   10000             6900         69
8772   431 BG2817166    790063 GIANT EAGLE #0082        9143 OXYCODONE                   17300            11900       68.79
8772   431 AG2912233    784785 GIANT EAGLE #0061        9143 OXYCODONE                   14000            9600        68.57
8164   431 BG8616332    598016 GIANT EAGLE #6508        9143 OXYCODONE                   13000            8900        68.46
8772   431 BG2374572    784850 GIANT EAGLE #0070         1724 METHYLPHENIDATE             5000             3400         68
8164   431 BG7719353    564720 GIANT EAGLE #6501         1100 AMPHETAMINE                 5000            3400          68
8772   431 BG9629405    667702 GIANT EAGLE #4152        9143 OXYCODONE                   12800            8700        67.97
8772   431 BG2079475    785154 GIANT EAGLE #1471        9143 OXYCODONE                   11500            7800        67.83
8772   431 BG4325634    785105 GIANT EAGLE #1419        9143 OXYCODONE                   8000             5400         67.5
8772   431 BG9738406    774151 GIANT EAGLE #2412        9143 OXYCODONE                    8000            5400         67.5
8772   431 BG4354433    785204 GIANT EAGLE #1481        9143 OXYCODONE                   8000             5300        66.25
8772   431 BG5859080.   547044 GIANT EAGLE #0178        9143 OXYCODONE                   8000             5300        66.25
8772   431 BG6717461    117996 GIANT EAGLE #0077        9143 OXYCODONE                   8000             5300        66.25
8772   431 FG0138861    755877 GIANT EAGLE #5861        9143 OXYCODONE                   8000             5300        66.25
8772   431 BG1969128    785006 GIANT EAGLE #0488        9143 OXYCODONE                   19500            12904       66.17
8120   431 BG7616634    247440 GIANT EAGLE #1841         1724 METHYLPHENIDATE             5000            3303        66.06
8120   431 BG7616634    503044 GE SMO DC 813 - #1841    1724 METHYLPHENIDATE              5000             3303       66.06




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8772   431 BG6784450   778330 GIANT EAGLE #6376        9143 OXYCODONE                   10000             6600        66
8772   431 BG9708895   780283 GIANT EAGLE #0218        9143 OXYCODONE                    8800             5800      65.91
8772   431 AG1484170   784660 GIANT EAGLE #0014         1724 METHYLPHENIDATE             7000            4600       65.71
8772   431 AG2819540   790261 GIANT EAGLE #4124        9143 OXYCODONE                   19200            12604      65.65
8772   431 BG1969130   784967 GIANT EAGLE #0482        9143 OXYCODONE                   12500            8200        65.6
8164   431 FG0064650   808544 GIANT EAGLE #6527        1100 AMPHETAMINE                  5000             3280       65.6
8772   431 BG4346537   785261 GIANT EAGLE #0032        1724 METHYLPHENIDATE              5000             3260       65.2
8164   431 FG0064650   808544 GIANT EAGLE #6527        9143 OXYCODONE                   8000              5200        65
8772   431 BG5859066   425133 GIANT EAGLE #4016        9143 OXYCODONE                   8800              5700      64.77
8772   431 AG2819538   796078 GIANT EAGLE #4022        9143 OXYCODONE                   12100             7800      64.46
8772   431 AV1367982   795914 GIANT EAGLE #6386        9143 OXYCODONE                   9000             5800       64.44
8772   431 AG1053456   784835 GIANT EAGLE #0067        9143 OXYCODONE                   19000            12200      64.21
8772   431 FG1616284    86753 GIANT EAGLE #4601        9143 OXYCODONE                   14500            9300       64.14
8164   431 BG7003116   424387 GIANT EAGLE #6503        1100 AMPHETAMINE                  5000             3200        64
8772   431 BG8633732   338718 GIANT EAGLE #6385        1100 AMPHETAMINE                 5000             3200         64
8772   431 BG8633732   338718 GIANT EAGLE #6385        9143 OXYCODONE                   15800            10100      63.92
8772   431 BG2308838   785196 GIANT EAGLE #1478        9143 OXYCODONE                   8000             5100       63.75
8772   431 FG0145842   100783 GIANT EAGLE #5831        9143 OXYCODONE                   8000              5100      63.75
8772   431 FG3108126   279532 GIANT EAGLE #0470        9143 OXYCODONE                   8000              5100      63.75
8772   431 BG3245037   790360 GIANT EAGLE #2491        9143 OXYCODONE                   13200             8400      63.64
8164   431 BG9802011   869905 GIANT EAGLE #6514        9143 OXYCODONE                   9000              5700      63.33
8164   431 BG9753167   802491 GIANT EAGLE #6526        4000 ANABOLIC STEROIDS            3000             1880      62.67
8772   431 BG2392140   785188 GIANT EAGLE #4035        9143 OXYCODONE                   8000              5000       62.5
8772   431 BG3098995   784736 GIANT EAGLE #0035        9143 OXYCODONE                   8000              5000       62.5
8772   431 BG3196260   395608 GIANT EAGLE #4012        9144 OXYCODONE 30MG (S           4000              2500       62.5
8772   431 BG1969128   785006 GIANT EAGLE #0488        1724 METHYLPHENIDATE             5000             3100         62
8772   431 BG2557645   784645 GIANT EAGLE #0010        9143 OXYCODONE                   15000            9300         62
8164   431 BG8616281   135893 GIANT EAGLE #6520        1100 AMPHETAMINE                 5000             3100         62
8164   431 BG8616320   660425 GIANT EAGLE #6509        1100 AMPHETAMINE                 5000             3100         62
8120   431 BG7616646   384421 GIANT EAGLE #1842        9806 HYDROCODONE COMI            8000             4952        61.9
8772   431 BG3245037   790360 GIANT EAGLE #2491        1724 METHYLPHENIDATE              5000             3090       61.8
8772   431 BG1892391   784991 GIANT EAGLE #0487        9143 OXYCODONE                    8000            4900       61.25
8772   431 BG7042891   760790 GIANT EAGLE #4031        9143 OXYCODONE                  39900             24400      61.15
8772   431 BG3196260   395608 GIANT EAGLE #4012        9143 OXYCODONE                  20500             12500      60.98
8772   431 BG2374609   745971 GIANT EAGLE #0041        9143 OXYCODONE                   14300             8700      60.84




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8772   431 BG3099036   796961 GIANT EAGLE #4077        9143 OXYCODONE                   9700             5900      60.82
8772   431 AG1536602   784611 GIANT EAGLE #0073        9143 OXYCODONE                   14000            8500      60.71
8772   431 AG2885979   784942 GIANT EAGLE #0477        9143 OXYCODONE                   14000            8500      60.71
8772   431 BG0818104   784769 GIANT EAGLE #0039         1724 METHYLPHENIDATE            5000             3032      60.64
8772   431 BG1335985   785055 GIANT EAGLE #0495        9144 OXYCODONE 30MG (S           2000             1200        60
8772   431 BG2857336   790188 GIANT EAGLE #2419        9143 OXYCODONE                   8000             4800        60
8772   431 BG6194283   130612 GIANT EAGLE #1620         1100 AMPHETAMINE                 6000            3600        60
8772   431 BG8262343    97427 GIANT EAGLE #1217         1100 AMPHETAMINE                5000             3000        60
8772   431 BG8633732   338718 GIANT EAGLE #6385        9144 OXYCODONE 30MG (S           4000             2400        60
8772   431 BP1341940     1948 GIANT EAGLE #0479        9143 OXYCODONE                   10000            6000        60
8772   431 BP1341940   395517 GIANT EAGLE #2900        9143 OXYCODONE                   10000            6000        60
8772   431 FG1056161   647165 GIANT EAGLE #0230        9143 OXYCODONE                   8000             4800        60
8164   431 FG2252980   370116 GIANT EAGLE #6515        9143 OXYCODONE                   8000             4800        60




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